        CASE 0:11-cv-03659-DWF-TNL        Doc. 138     Filed 01/20/12       Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Kevin Scott Karsjens, David Leroy
Gamble, Jr., Kevin John DeVillion, Peter
Gerard Lonergan, James Matthew Noyer,            Court File No. 11-cv-03659 (DWF/JSM)
Sr., James John Rud, James Allen Barber,
Craig Allen Bolte, Dennis Richard Steiner,
Kaine Joseph Braun, Brian Keith Hausfeld,        NOTICE OF APPEARANCE
Christopher John Thuringer, Kenny S.
Daywitt, Bradley Wayne Foster,

                            Plaintiffs,

v.

Minnesota Department of Human Services,
et al.,

                            Defendants.


        The undersigned attorneys hereby notify the Court and counsel that Daniel E.

Gustafson, Karla M. Gluek, David A. Goodwin and Raina E. Challeen shall appear as

counsel of record for Plaintiffs in the above-captioned matter.


Dated: January 20, 2012                          s/Daniel E. Gustafson
                                                 Daniel E. Gustafson (#202241)
                                                 Karla M. Gluek (#238399)
                                                 David A. Goodwin (#386715)
                                                 Raina E. Challeen (#392127)
                                                 Gustafson Gluek PLLC
                                                 650 Northstar East
                                                 608 Second Avenue South
                                                 Minneapolis, Minnesota 55402
                                                 Tel: (612) 333-8844
                                                 Fax: (612) 339-6622

                                                 Attorneys for Plaintiffs

24109
